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                           UNITED STATES DISTRICT COURT                                CLERK OF''i JRT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION                                    t011 APR I2 P1112: 0
 UNITED STATES OF AMERICA,                                                                 Vii: ; Jti T
                                                     CASE N                                   N UiS 1.OHIO
              Plaintiff,
                                                                                             IV_ COLUMBUS
                                                     JUDGE
       vs.
                                                     INDICTMENT
 WESLEY DURELL JOHNSON,
                                                    21 U.S.C. § 841(a)(1)
 DEYSUAN SHALEE WELLS,                              21 U.S.C. § 841(b)(1)(A)(viii)
                                                    21 U.S.C. § 846
 TIAUNA CHRISTINE CASTRO,

 MOHAMED AHMED HUSSEIN,

 RONNIE BERT WHITE,

 AUTUMN K. JORDAN,

 CIERRA SADE STRATTON, and
   aka Cierra Stratton-Zebib

 TERRELL D. HARRIS,

              Defendants.


THE GRAND JURY CHARGES:


                                     COUNT ONE
                      (Conspiracy to Distribute Methamphetamme)

      From on or about February 1, 2021, through and including the date of this Indictment, in

the Southern District of Ohio, the defendants, WESLEY DURELL JOHNSON, DEYSUAN

SHALEE WELLS, TIAUNA CHRISTINE CASTRO, MOHAMED AHMED HUSSEIN,

RONNIE BERT WHITE, AUTUMN K. JORDAN, CIERRA SADE STRATTON, aka

Cierra Stratton-Zebib, TERRELL D. HARRIS, did knowingly, intentionally and unlawfully
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combine, conspire, confederate and agree with diverse other persons, both known and unknown to

the Grand Jury, to distribute possess with intent to distribute 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance.

   In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii) and 21 U.S.C. § 846.




                                            A TRUE BILL

                                            s/Foreperson

                                            FOREPERSON




KENNETH L.PARKER
UNITED STATES ATTORNEY


TIMOTHY Iy. PRICHARD (0059455)
Assistant United States Attorney




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